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would need to get the cash from Ahmad when he was there. He added that the accounting for

"that cash" would be separate, and Ahmad replied that it would be fine. This call illustrates that

Straw Donor C sent money to Ahmad with the understanding that he would be reimbursed for it

in Pakistan.


        104. On March 20, 2010. Ahmad instructed Straw Donor B to give Fai at least S30.000

so that Fai would be satisfied for a month or so. Straw Donor B commented that a lot of money

was going to Fai this time, and Ahmad chuckled and replied "Long live Pakistan."

        105. On March 25, 2010, Fai emailed Ahmad a receipt from KAC for Ahmad's donations

totaling 532,500 during 2009, through at least five separate checks. The next day, Ahmad

emailed Fai a message stating that the receipt Fai sent previously did not appear to be accurate.

Ahmad then provided a list of five other checks to KAC from Ahmad totaling $39,000. Fai

responded on March 26, 2010, with a receipt for $39,000 that listed the five checks referenced in

Ahmad's earlier email. Bank records for Ahmad's account reilect that at least two of those

checks were not deposited into a KAC account but instead were used to pay Fai's home

mortgage. As a result of Fai's personal use of Ahmad's ostensible contributions to KAC, I

believe that KAC's bank records understate the amount of money that Fai received from

Government of Pakistan through Ahmad and others.

        106. On April 4, 2010, Butt emailed Fai that "Meeting with friend Zaheer is likely to be

held soon, date cannot be confirmed," and nine days later, sent another message stating that he

had contacted "Mr. Zaheer" successfully. 1believe that this message indicated that Fai's next

funding installment was approved and would soon begin to make its way into Fai's accounts

through Ahmad's contacts.


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       107. On April 11, 2010, Straw Donor B told Ahmad that he had approximately $10,000

to give to Fai. Straw Donor B said that Fai usually calls and then comes alone to get the money.

       108. On April 27, 2010, Ahmad told Fai that Straw Donor B had some money for Fai.

and that he had spoken with both Straw Donors H and K, and that they would be sending

something for Fai. Ahmad also said that he had met another individual, for "hundred and sixty."

I believe that Ahmad was referring to Ahmad's meeting with Butt, and that "hundred and sixty"

represents the $160,000 that the Government of Pakistan approved Ahmad to send to Fai.

       109. On June 8. 2010, Fai requested that Ahmad contact Straw Donor G, Straw Donor K.

and several others, adding that he wanted Ahmad to tell them to use FedEx because he needed

the money urgently. On June 14, 2010, Fai told Ahmad that he had not yet received "the

envelope" yet, and reminded Ahmad to speak to Straw Donors G, M, and K.

        110. On June 29, 2010, Fai was stopped by police in New York and found to have in his

possession $35,000 in cash. Fai told the police that he had just received the cash from Straw
Donor B as a contribution to KAC.

        111. Shortly after being stopped, Fai called Straw Donor Band told him that the police

had stopped him, searched his car, and found the money. The next day, Fai and Straw Donor B
spoke again: Straw Donor B told Fai that Ahmad had suggested they claim to have gathered the
money from a particular mosque in Brooklyn, New York. On July 1, 2010, Fai told Ahmad that

he had told the police that it was the first time he had received money from Straw Donor B, and

that the money had been raised in New York by Pakistanis and Kashmiris to support Fai's

upcoming KAC conference.




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       112. On July 7, 2010. Ahmad told Fai that he wanted Fai to stick with the story that they

had created, namely that the congregation of the Brooklyn mosque had raised the funds and

provided them to Straw Donor B to give to Fai. Fai agreed to maintain that story. The same day,

FBI agents interviewed Straw Donor B at his residence. Straw Donor B told the interviewing

agents that the money had been raised by members of the Brooklyn mosque and that Straw Donor

B had volunteered to pass the money along to Fai. Straw Donor B further stated that this was the

first and only time he had given money to Fai, and that Fai had directed him to go to the mosque

and pick up the money from a particular imam there.

       113. On August 12, 2010, FBI agents interviewed the imam of the mosque identified by

Straw Donor B, who advised them that he had been in Pakistan from April through July 2010. 1

have reviewed the imam's travel records and know that he was indeed out of the U.S. during the

time period in question. When the agents interviewed Straw Donor B a second time, he again

claimed that the imam had provided him the money in late June 2010 to give to Fai. I believe

that Straw Donor B lied during both interviews with the FBI in order to conceal the true source of

the cash.


        114. On August 12, 2010, shortly after the FBI agents had left his residence. Straw

Donor B spoke with Ahmad and complained that Fai had not told the imam of their cover story.

Ahmad promised to talk to Fai, and cautioned Straw Donor B not to use his own phone to call

Fai. Ahmad also directed Straw Donor B to provide Fai with an additional $30,000 in cash.

        115. On August 14, 2010, Ahmad told Straw Donor B that he had just met with "the

people who are involved here" for one to two hours to discuss Straw Donor B's encounters with

the FBI. Ahmad said that "they" told him to tell Straw Donor B to maintain the same cover


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story, and not to involve any additional people. I believe that Ahmad's reference to "the people

who are involved here" and "they" referred to his contacts in the Government of Pakistan.

          116. On August 29, 2010, Ahmad and Straw Donor B had a conversation in which Straw

Donor B told Ahmad that he had given the money to the imam of the Brooklyn mosque, and that

the imam had not yet met "the doctor." I believe that Straw Donor B's reference to "the doctor"

was a reference to Fai, and that, based on the context of the call, this conversation refers to

different money than the cash that was seized on June 29, 2010. Further, I believe that Straw

Donor B provided the new cash to the imam to give to Fai instead of giving it to Fai directly so

that Fai could say without fear of contradiction that he received it from the imam in case the

police stopped Fai and found him with cash again.

          117. In a conversation on November 4, 2010 between Ahmad and Straw Donor G.

Ahmad requested Straw Donor G to "take advantage" and send $10,000 to "the Kashmiri"; Straw

Donor G responded he would talk with Straw Donor K about it. I believe when Ahmad said

"take advantage" in this conversation, he was instructing Straw Donor G to take a tax deduction,

even though both Ahmad and Straw Donor G knew that Ahmad would reimburse the money. I

further believe that when the word "Kashmiri" was used, this was coded language meant to refer

to Fai.


          118. On December 15, 2010, Fai requested that Ahmad arrange for "people like [Straw

Donor II, Straw Donor K], and others" to send checks. Fai specified that he wanted the checks to

be sent "toward 2010 tax returns." The same day, Ahmad spoke with both Straw Donor H and

Straw Donor K. Ahmad reminded Straw Donor H of the money he had planned to send, and

specified that he meant "the one you usually send to the Kashmiris." Straw Donor II told Ahmad


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he had just sent money in August and had no more to send. Ahmad then had a conversation with

Straw Donor K in which Ahmad instructed Straw Donor K to send Fai some money before Straw

Donor K came over; I believe that the reference to "come over" referred to Straw Donor K's

upcoming trip to Pakistan. Ahmad informed Straw Donor K that Straw Donor K could get the

money back when he came to Pakistan, adding that since the year was ending, it would be

beneficial for him. I believe this conversation represents another instance in which Ahmad

informed Straw Donor K to take a tax deduction for monies given to Fai.

       119. On December 17, 2010, Ahmad again reminded Straw Donor K about sending

money to "the Kashmiris" before Straw Donor K left for Pakistan. I believe that "the Kashmiris"

referred to Fai and KAC.

       120. In a conversation on December 18, 2010, Straw Donor K asked Ahmad whether if

he sent the money [I believe to Fai], it would be possible to get the money returned in U.S.

dollars. When Ahmad asked how much he would send, Straw Donor K responded "15." and

added that he would be fine if Ahmad gave him back "10" in U.S. dollars and the rest in

Pakistani Rupees. Ahmad agreed to do that, and directed Straw Donor Kto send "25" as "he" [I
believe to be Fai] was in need of money now. Straw Donor Ksaid he would do that but date the

check for January. Ahmad replied that would be fine, and told Straw Donor Kto bring a copy of

the check with him. I believe this conversation is another example of Ahmad reimbursing Straw

Donor K for the money he sent to Fai.

        121. In a conversation on December 22, 2010, Ahmad asked Fai whether he had received

anything from Straw Donor K: Fai replied he had not. Ahmad told Fai that Straw Donor Khad



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sent it before he left the U.S., and that Ahmad would send Fai "30 plus" from Pakistan. Ahmad

also told Fai that Straw Donor H had promised to collect some money and send it to Fai.

       122. On January 5, 2011, Fai told Ahmad that he still had not received any donations

from Ahmad, Straw Donor 11, or Straw Donor K.

       123. On January 24, 2011, Fai deposited a $25,000 check from Straw Donor K into one

of the KAC bank accounts.




               II.    Activities and Funding for 2011

                      1.      Activities


       124. On January 6, 2011, Fai received a message from Fozia Bibi, the Third Secretary of

the Embassy of Pakistan, attaching a list of 11 media persons and six intellectuals from think

tanks that Fai was encouraged to meet and cultivate. On January 10, 2011, Fai responded by

noting that he had "requested the DCM" for the list of names, and that he would try to contact the

individuals that he did not yet know. I believe thai Fai's reference to "DCM" referred to the

Deputy Chief of Mission at the Pakistani Embassy. Between January 29. 2011. and March 7,

2011, Fai contacted four of the six individuals named on the "Think Tank" list, as well as the

peer of a fifth individual, and asked them whether they would be willing to receive a lecture on

the Kashmiri conflict from Fai and the KAC board members.

       125. On January 23. 2011. Fai had a conversation with an individual to whom 1will refer

as "John," who serves as an officer of a Kashmiri organization. My investigation has revealed

that John, like Fai, has received numerous emails from Fai's former handler Khan, including the

December 18, 2009, email in which Khan advised that he was being replaced by Mahmood.


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During his conversation with Fai, John complained about Nazir Shawl (Fai's Government of

Pakistan-controlled counterpart in the U.K.) and threatened to expose "everything and

everybody." He ended by saying that he was prepared lo go to the Indian Embassy to beg

forgiveness for his previous activities, even if doing so displeased his Pakistani bosses. I believe

this call indicates that John knows lhat Fai, like himself, is acting as an agent of Pakistan.

        126. On March 15, 2011, Fai senl an email to Butt advising him thai an individual to

whom I will refer as "Mary" would be testifying in front of a United Nations working group.

Man' is a human rights activist; Major General Mumtaz Ahmad Bajwa had requested that Fai

introduce him to Man,' in July 2009. The next day, Butt asked Fai to provide Butt with

information about the hearing. On March 26, 2011, Fai responded to Butt's request with an email

that described Mary's testimony before the U.N. working group. On March 28, 2011, Butt wrote

back to Fai with several questions, commenting that he needed additional information to

"complete my update for elders." I assess by this phrase that Butt was briefing Fai's information

up his chain of command, and that Fai was aware that his information had a greater audience

than just Butt.

                       2.      Funding

        127. As previously nolcd, Ahmad told Fai on December 22, 2010, that he would send Fai

"30 plus" from Pakistan. I believe "30 plus" is a coded reference to $30,000 of funding for Fai.

Between January 10 and March 28, 2011, Fai deposited three checks from Ahmad totaling

$23,000 into the KAC bank accounts.




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       128. On March 31, 2011, Fai told Ahmad that he needed checks, and requested that

Ahmad call Straw Donor G, Straw Donor H, Straw Donor K. "New York", or "anybody else." I

believe Fai used the term "New York" to refer lo Straw Donor B.


       129. On April 7, 2011. Fai advised Ahmad that he would be traveling to Turkey and

requested that Ahmad send $15,000 to Fai via a contact in Istanbul.

       130. On April 7, 2011, Butt wrote an email to Fai saying, "Likely to meet with friend

Doctor today for need full." Fai responded the next day by writing "Doctor Sahib already

informed me that Aspirin was the right medicine which has been delivered." The next day. Butt

wrote back, "Go as per the advice of doctor, but keep the dose low." I believe that Fai and Butt

were using coded language to discuss Fai's financial transactions with Ahmad, and that Butt was

warning Fai not to spend (or request) too much money.

                                            Conclusion


        131. Based on the foregoing, there is probable cause to believe that, from in or about

1995 and continuing until the present date, in the Eastern District of Virginia and elsewhere,

Syed Ghulam Nabi Fai and Zaheer Ahmad did unlawfully and knowingly conspire with each

other and with others to (1) act as an agent of a foreign principal without registering with the

Atlorney General, in violation of Title 22, United Stales Code, Section 612; and (2) falsify,

conceal, and cover up material facts they had a duty to disclose by tricks, schemes, and devices,

in matters within the jurisdiction of agencies of the executive branch of the Government of the

United States, in violation of Title 18. United Slates Code, Section 1001. all in violation of Tide

18, United States Code, Section 371.




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       Forfeiture of the proceeds of the conspiracy to act as an unregistered foreign agent is

authorized upon conviction by Title 18, United Slates Code, Section 981(a)(1)(C) and Title 28,

United States Code, Section 2461(c).

       FURTHER THIS AFFIANT SAYETII NOT.



                                              ^^AjJA/iA't^—^--^'
                                             Sarah Webb Linden
                                             Special Agent, Federal Bureau of Investigation


SUBSCRIBED AND SWORN to before me on July 18, 2011.



                                                 /s/Thomas Rawles Jones, Jr.

                                             Thomas Rawles Jones, Jr.
                                             United States Magistrate Judge




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